  INTAKE
        Case: 1:18-cr-00708 Document #: 1 Filed: 10/18/18 Page 1 of 4 PageID #:1           &
                                                     AUSA Kaitlin Klamann (312) 353-5361
   OCT l8 2018 \F
                           UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

 UNITED STATES OF AMERICA
                                                  Case No.:
                                                              18C*                    ?G8
                 v.
                                                  Magistrate Judge M. David Weisman
 JAIVIES D. BLEVINS

                      AFFIDAVIT IN REMOVAL PROCEEDING

        I,   GERREN STITH, personally appearing before United States Magistrate

Judge M. David Weisman and being duly sworn on oath, state that as a federal law

enforcement officer I have been informed that JAMES D. BLEVINS has been charged

by Indictment in the District of Arizona with the following criminal          offenses:

Interstate Communications Containing Threats, in violation of Title 18, United

States Code, Section 875(c) (Count One), and Retaliation Against a Federal Official

by Threats, in violation of fitle 18, United States Code, Section 115(aX1) (Count

Two).

        A copy of the Indictment is attached. A   copy of the arrest warrant also is

attached.


                                                     GERREN STITH
                                                     Special Agent
                                                     United States Capitol Police


SUBSCRIBED AND SWORN to before me this 18th day of



               FII.ED                                M. DAVID WEISMAN
                                                     United States Magrstrate JudgC
                                                                                      ;\
                 ()cT 18   2018

               M. DAVID WEISMAN
               MnctSTHATE JUDGE
             unriHo   s olsTRlcr couRr
                         Case: 1:18-cr-00708 Document #: 1 Filed: 10/18/18 Page 2 of 4 PageID #:2
                r   r/r r ) Anest Wanant



                                              IJNITED STATES DTSTRICT COUNT
                                                                   for the

                                                             District of Arizona
                                                                                                          SEAttrD
                       United States of America
                                      v.                             )
                                                                     )        Case   No.    CR-18-01 371-PHX-DLR
                                                                     )
                                                                     )
                                                                     )
                          James Dean Blevins
                                                                     )
                                  Defendant


                                                      ARRESTWARRANT
To:        Any authorized law enforcement officer

         YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay
(name ofperson to be arrested) JameS Dean BJeVinS

who is accused of an offense or violation based on the following document filed with the court:

d     tnaictment    O Superseding lndictment 0 Information 0 Superseding Information o                                         Complaint

D Probation Violation Petition    n Supervised Release Violation Petltion il Violation Notice il                               Order of the Court

This offense is briefly described as follows:
  1   8:875(c) - lnterstate Communications Containing Threats
  18:1 15(a)(1)    - Retaliation Against a Federal Official by Threats




Date:           10/10/2018                                                     fLlr,'t   -^ t       ie
                                                                                               Issuing   aficer's s ignature


City and state:            Phoenix, AZ                                                   Rebecca F,.Kobza - Deputv Q!er[..-_
                                                                                                Printed name and title


                                                                  Return

           This walrant rvas received on @aft)                           , and the person was arrested on (date)
at (ciry and state)


Date:
                                                                                             Arresting oficer's si gnature



                                                                                                Printed name and title
             Case: 1:18-cr-00708 Document #: 1 Filed: 10/18/18 Page 3 of 4 PageID #:3

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                                                                              OcI 0 I       2018
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                                                                       CLEITK U S DISTRICT COURT
 3                                                                       DISTRICT OF ARIZONA
                                                                     nV_.*_   ",,-...,.,-          EpUTy
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                                                                        REI}ACTEI}TON
 5                                                                    puHltc [}t$CIr0$t,nE
 6                                 INTHEUMTED STATES DISTRICT COURT
 7                                         FORT}TE DISTRICT OF ARTZONA
 8
              United States of America,
 I                                                               cR-1 g-1 37 1-PHX-nLR (JZB)
                                      Plaintiff,
10                                                                       INDICTMBNT
1l                                                          VIO:     18 U.S.C. $ 875(c)
                                                                     fl nterstate C omrhrinications
12            Jarnes Dean Blevitrs,                                  Containing Threats)
                                                                     Count 1
13
                                      Defendant.                     18 U.S.C. 0 115(a)(1)
t4                                                                   (Retaliation eeairisi i PeAeral
                                                                     Official byI Thleats)
l5                                                                   Count}
t6
T7

18           THE GRAND JURY CHARGES:
19                                                   COT]NT I
20                     On or about September L7,2018, in the District of Arizona, defendant JAMES
2L           DEAN BLEVINS knowingly and willfully transmitted in interstate and foreign commerce
22           communications to United States Senator J. F. containing a threat to injure him and his
23           family.
24                  In violation of Title 18, United States Code, Section 875(c).
25                                                   COT}NT 2
26                  On or about September 17, 2018, in the District of Arizona, defendant JAMES
27       .
             DEAN BLEVINS knowingly and willfully threatened to assault, kidnap or murder United
28           States Senator J. F., a United States Official, and his family, with rhe intent to retaliate
         Case: 1:18-cr-00708 Document #: 1 Filed: 10/18/18 Page 4 of 4 PageID #:4




     t   against such official on account of the performance of his official duties.

 2              In violation of Title 18, United States Code, Section 115(aX1).
 4
 J

 4                                                 ATRUEBILL
 5
                                                   S/
 6
                                                   Date: October 9,2018
 7                                                                           :



 8
         ELTZABETHA. STRANGE
 I       First Assistant United States Attomey          ,
                                                                                                *
         District of Arizona                                ''fftny ailefl       ArrJ   SSft?
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11       S/                                                               slq[ u$.0r$iTmcT c0urr :
l2       Assistant U.S. Attomey
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